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                                                           Hearing Date: October 28, 2020 at 9:30 a.m. AST
                                    Objection Deadline: August 5, 2020 (for parties other than the Fee Examiner)

                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO


      In regarding:                                              PROMESA
                                                                 Title III
      THE FINANCIAL OVERSIGHT AND
      MANAGEMENT BOARD FOR PUERTO                                No. 17 BK 3283-LTS
      RICO,
                                                                 (Jointly Administered)
             as representative of

      THE COMMONWEALTH OF PUERTO RICO,
      et al.

                            Debtors.1


            SUMMARY COVER SHEET TO THE NINTH INTERIM APPLICATION
               OF JENNER & BLOCK LLP AS COUNSEL TO THE OFFICIAL
                    COMMITTEE OF RETIRED EMPLOYEES OF THE
              COMMONWEALTH OF PUERTO RICO FOR ALLOWANCE OF
                   COMPENSATION FOR SERVICES RENDERED AND
                     REIMBURSEMENT OF EXPENSES INCURRED
                   FROM FEBRUARY 1, 2020 THROUGH MAY 31, 2020

      Name of Applicant:                                  Jenner & Block LLP

      Authorized to Provide Services To:                  The Official Committee of Retired
                                                          Employees of the Commonwealth of Puerto
                                                          Rico

      Retention Date:                                     June 16, 2017



  1
    The Debtors in these jointly-administered PROMESA title III cases, along with each Debtor’s respective
  title III case number listed as a bankruptcy case number due to software limitations and the last four (4)
  digits of each Debtor’s federal tax identification number, as applicable, are: (i) Commonwealth of Puerto
  Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
  Sales Tax Financing Corporation (Bankruptcy Case No. 17 BK 3284) (Last Four Digits of Federal Tax ID:
  8474); (iii) Puerto Rico Highways and Transportation Authority (Bankruptcy Case No. 17 BK 3567-LTS)
  (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of the
  Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax
  ID: 9686); (v) Puerto Rico Electric and Power Authority (Bankruptcy Case No. 17 BK 4780) (Last Four
  Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (Bankruptcy Case No. 19
  BK 5523-LTS) (Last Four Digits of Federal Tax ID: 3801).
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    Period for which compensation and                    February 1, 2020–May 31, 2020
    reimbursement is sought:

    Amount of interim compensation sought as
    actual, reasonable, and necessary:                   $1,868,971.73

    Amount of interim expense reimbursement
    sought as actual, reasonable, and necessary:         $105,122.89

    Are your fee or expense totals different from
    the sum of previously served monthly
    statements?                                          No

    Petition Date:                                       May 3, 2017

    Blended rate in this application for all             $986.49 ($838.51 following 15% fee
    attorneys:                                                   discount)

    Blended rate in this application for all             $847.47 ($720.35 following 15% fee
    timekeepers:                                                 discount)

    This is an interim application.

    The total time expended for Jenner’s fee application preparation for the Interim Fee Period is
    approximately 15 hours and the corresponding compensation requested is approximately
    $12,000.

    Total compensation approved by interim               $13,239,748.48
    order to date:

    Total expenses approved by interim order to          $583,429.85
    date:

    Total compensation paid to date:                     $15,108,416.84

    Total expenses paid to date:                         $712,077.05

    Total compensation subject to objection:             None

    Total expenses subject to objection:                 None

    Number of Professionals Included in this             25
    Application:

    Difference Between Fees Budgeted and                 $218,528.49 less than budget
    Compensation Sought:




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     Number of Professionals Billing Fewer than
     15 Hours to this Case:                                12

     Rates Higher than Those Disclosed at                  Jenner adjusted its scheduled hourly rates as
     Retention:                                            of January 1, 2018, January 1, 2019, and
                                                           January 1, 2020. Time recorded from January
                                                           1, 2020 through May 31, 2020 is at 2020
                                                           rates.

     Objection Deadline:                                   August 5, 2020w (for parties other than the
                                                           Fee Examiner)
Name of Professional             Title     Year         Department       Hourly     Total       Total Fees
                                          Admitted                       Billing    Billed      Requested
                                                                          Rate      Hours

CLIFFORD W.            Partner           2007        Appellate &          $875       6.50           $5,687.50
BERLOW                                               Supreme Court
                                                     Practice
IAN HEATH              Partner           1993        Appellate &         $1,300      12.10         $15,730.00
GERSHENGORN                                          Supreme Court
                                                     Practice
GABRIEL K. GILLET      Partner           2011        Appellate &          $865       4.50           $3,892.50
                                                     Supreme Court
                                                     Practice
ROBERT D.              Partner           1989        Restructuring &     $1,225     330.90        $405,352.50
GORDON                                               Bankruptcy
SARAH E. HADDY         Partner           2009        Employee Benefits    $900       6.30           $5,670.00
MARC B. HANKIN         Partner           1992        Restructuring &     $1,125      65.00         $73,125.00
                                                     Bankruptcy
LINDSAY C.             Partner           2003        Appellate &          $1000      1.10           $1,100.00
HARRISON                                             Supreme Court
                                                     Practice
EMILY M. LOEB          Partner           2009        Investigations,      $950       3.10           $2,945.00
                                                     Compliance &
                                                     Defense
RONALD R.              Partner           1973        Restructuring &     $1,225      5.00           $6,125.00
PETERSON                                             Bankruptcy
LANDON S.              Partner           2008        Restructuring &      $900      521.20        $469,080.00
RAIFORD                                              Bankruptcy
MELISSA M. ROOT        Partner           2003        Restructuring &      $975      306.10        $298,447.50
                                                     Bankruptcy
MICHELE L.             Partner           2008        Complex              $900       5.90           $5,310.00
SLACHETKA                                            Commercial
                                                     Litigation
CATHERINE L.           Partner           1982        Restructuring &     $1,225     215.60        $264,110.00
STEEGE                                               Bankruptcy
ADRIENNE LEE           Associate         2015        Appellate &          $755       6.50           $4,907.50
BENSON                                               Supreme Court
                                                     Practice
KATHERINE A.           Associate         2018        Litigation           $665       6.70           $4,455.50
ROSOFF
ADAM T. SWINGLE        Associate         2018        Restructuring &      $570       81.30         $46,341.00
                                                     Bankruptcy




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JOHN D.                   Associate          2014   Restructuring &   $780    53.20        $41,496.00
VANDEVENTER                                         Bankruptcy
CARL N. WEDOFF            Associate          2010   Restructuring &   $880   202.10       $177,848.00
                                                    Bankruptcy
NATHANIEL K.S.            Associate          2015   Complex           $745    38.00        $28,310.00
WACKMAN                                             Commercial
                                                    Litigation
WILLIAM A.                Associate          2015   Restructuring &   $630    39.60        $24,948.00
WILLIAMS                                            Bankruptcy
LAURA E. PELANEK          Staff Attorney/    2004   Litigation        $585   457.00       $267,345.00
                          Special Counsel
TOI D. HOOKER             Paralegal          N/A    Restructuring &   $400   103.40        $41,360.00
                                                    Bankruptcy
MARY F. PATSTON           Paralegal          N/A    Litigation        $355    26.00         $9,230.00
MARC A.                   Paralegal          N/A    Restructuring &   $230   132.40        $30,452.00
PATTERSON                                           Bankruptcy
CHARLOTTE M.              Paralegal          N/A    Appellate &       $355     3.50         $1,242.50
STRETCH                                             Supreme Court
                                                    Practice
ANNETTE M.                Paralegal          N/A    Litigation        $230     3.00           $690.00
YOUNG

TRICIA J. PEAVLER         Library Services   N/A    Information       $355     1.30           $461.50
                                                    Services
JAMES P. WALSH            Library Services   N/A    Information       $355     1.30           $461.50
                                                    Services
     Sub-Total*                                                              2,638.60    $2,236,123.50
Less 15% Fee                                                                              $321,818.77
Discount on all matters
except the Non-
working Travel Matter
Less 50% Discount on                                                                       $45,333.00
Non-working Travel
Matter
Total                                                                                    $1,868,971.73


          FEE EXAMINER’S REQUESTED ATTACHMENTS TO FEE APPLICATIONS

   List of Professionals – Exhibit E
   Compensation by Project Category – Exhibit G
   Expense Summary – Exhibit F
   List of Professionals by Matter – Exhibit H
   Detailed Time Records – Exhibit H
   Detailed Expense Records – Exhibit I; additional detail submitted to the Fee Examiner under
   separate cover
   Customary and Comparable Disclosures – Exhibit D
   Budget & Staffing Plan – Submitted to the Fee Examiner under separate cover




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                                                           Hearing Date: October 28, 2020 at 9:30 a.m. AST
                                    Objection Deadline: August 5, 2020 (for parties other than the Fee Examiner)

                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO



      In regarding:                                              PROMESA
                                                                 Title III
      THE FINANCIAL OVERSIGHT AND
      MANAGEMENT BOARD FOR PUERTO                                No. 17 BK 3283-LTS
      RICO,
                                                                 (Jointly Administered)
             as representative of

      THE COMMONWEALTH OF PUERTO RICO,
      et al.

                            Debtors.1


              NINTH INTERIM APPLICATION OF JENNER & BLOCK LLP AS
                COUNSEL TO THE OFFICIAL COMMITTEE OF RETIRED
             EMPLOYEES OF THE COMMONWEALTH OF PUERTO RICO FOR
                  ALLOWANCE OF COMPENSATION FOR SERVICES
              RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED
                   FROM FEBRUARY 1, 2019 THROUGH MAY 31, 2020

  To the Honorable United States District Court Judge Laura Taylor Swain:

           Jenner & Block, LLP (“Jenner”), attorneys for The Official Committee of Retired

  Employees of the Commonwealth of Puerto Rico (the “Retiree Committee”) in the above-

  captioned Title III case (“Title III Case”), hereby submits this Ninth Interim Application (the


  1
    The Debtors in these jointly-administered PROMESA title III cases, along with each Debtor’s respective
  title III case number listed as a bankruptcy case number due to software limitations and the last four (4)
  digits of each Debtor’s federal tax identification number, as applicable, are: (i) Commonwealth of Puerto
  Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
  Sales Tax Financing Corporation (Bankruptcy Case No. 17 BK 3284) (Last Four Digits of Federal Tax ID:
  8474); (iii) Puerto Rico Highways and Transportation Authority (Bankruptcy Case No. 17 BK 3567-LTS)
  (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of the
  Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax
  ID: 9686); (v) Puerto Rico Electric and Power Authority (Bankruptcy Case No. 17 BK 4780) (Last Four
  Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (Bankruptcy Case No. 19
  BK 5523-LTS) (Last Four Digits of Federal Tax ID: 3801).
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  “Application”) for an award of interim compensation for professional services rendered, and

  reimbursement for actual and necessary expenses incurred in connection with such services, for

  the period from February 1, 2019 through May 31, 2020 (the “Interim Period”). Jenner submits

  this Application pursuant to: sections 316 and 317 of the Puerto Rico Oversight, Management, and
                                              2
  Economic Stability Act (“PROMESA”), 48 U.S.C. §§ 2176, 2177; sections 105(a) and 503(b) of
                           3
  the Bankruptcy Code, 11 U.S.C. §§ 105(a), 503(b); Rule 2016(a) of the Federal Rules of
                                                          4
  Bankruptcy Procedure (the “Bankruptcy Rules”) ; Rule 2016-1 of the Bankruptcy Rules for the
                                                                                              5
  United States Bankruptcy Court for the District of Puerto Rico (the “Local Rules”) ; the Order

  Authorizing the Employment of Jenner & Block LLP as Attorneys for the Committee of Retired

  Employees (the “Retention Order”) [Dkt. No. 1002]; the Second Amended Order Setting

  Procedures for Interim Compensation and Reimbursement of Expenses of Professionals (the

  “Interim Compensation Order”) [Dkt. No. 3269]; the United States Trustee’s Guidelines for

  Reviewing Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C.

  § 330 by Attorneys in Large Chapter 11 Cases Effective as of November 1, 2013 (the “UST

  Guidelines”); the First Amended Order Pursuant to PROMESA §§ 316 and 317 and Bankruptcy

  Code Section 105(a) Appointing a Fee Examiner and Related Relief (the “Amended Fee

  Examiner Order”) [Dkt. No. 3324]; the Order on Fee Examiner’s Motion to Impose Presumptive


  2
      PROMESA is codified at 48 U.S.C. §§ 2101–2241.
  3
   The Bankruptcy Code is codified at 11 U.S.C. §§ 101–1532. Unless otherwise noted, all Bankruptcy Code
  sections cited in the Application are made applicable to this Title III Case pursuant to section 301(a) of
  PROMESA.
  4
   All Bankruptcy Rules referenced in this Application are made applicable to these Title III Cases pursuant
  to section 310 of PROMESA.
  5
   The Local Rules are made applicable here by the Court’s Order (A) Imposing and Rendering Applicable
  Local Bankruptcy Rules to These Title III Cases, (B) Authorizing Establishment of Certain Notice, Case
  Management, and Administrative Procedures, and (C) Granting Related Relief [Dkt. No. 249].


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  Standards and Timeliness Requirements for Professional Fee Applications [Dkt. No. 3932]; the

  Order Imposing Additional Presumptive Standards: Rate Increases and the Retentions of Expert

  Witnesses or Other Sub-Retained Professionals (“Additional Presumptive Standards Order”)

  [Dkt. No. 7678]; and the Fee Examiner’s November 10, 2017 Memorandum (the “Fee Examiner

  Memorandum”). In support of this Application, Jenner submits the Certification of Robert D.

  Gordon (the “Gordon Certification”), attached hereto as Exhibit A, and respectfully represents

  as follows:

                                        Preliminary Statement

          1.       On August 10, 2017, this Court entered the Retention Order, approving the Retiree

  Committee’s employment of Jenner, effective as of June 16, 2017. A copy of Jenner’s engagement

  letter is attached hereto as Exhibit B. The Retiree Committee represents approximately 167,000

  retired employees of the Commonwealth of Puerto Rico (“Commonwealth” or “Puerto Rico”)

  and various Commonwealth agencies and instrumentalities and their surviving beneficiaries,

  including Puerto Rico’s retired teachers, police officers, firefighters, judges, municipal clerks,

  engineers, and other government workers of all categories, who hold accrued pension benefits on

  account of having participated in the Employee Retirement System (the “ERS”), the Teachers

  Retirement System (the “TRS”), and/or the Judiciary Retirement System (the “JRS”), among

  other potential post-employment benefits (the “Retirees”). The pensions of the Retirees, along

  with those held by currently active employees who have participated in the ERS, TRS, and/or JRS,

  are collectively underfunded by at least $50 billion. The Retirees are the largest group of creditors

  in these title III cases.

          2.       During the Interim Period, Jenner performed a variety of legal services that were

  necessary and appropriate for the effective advancement of the Retirees’ interests in this Title III

  Case, including, among other things: meeting and conferring with the Retiree Committee; advising

                                                   3
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  the Retiree Committee regarding its powers and duties; advising the Retiree Committee regarding

  matters pertaining to or likely to affect Retirees’ pension, healthcare, and other accrued retirement

  benefits; representing the Retiree Committee at court hearings and negotiation sessions involving

  matters pertaining to or likely to affect the benefits of the Retirees; participating in fact and expert

  discovery on behalf of Retirees; preparing on behalf of the Retiree Committee motions,

  applications, orders, and other legal papers; and advocating for Retirees in adversary proceedings

  and contested matters.

         3.      Jenner’s work during the Interim Period was necessary for, and beneficial to, the

  Retirees and served to ensure that the Retirees’ interests were properly represented and

  safeguarded in this Title III Case. Jenner respectfully requests that the Court award the fees and

  expenses requested in this Application.

                                               Jurisdiction

         4.      The United States District Court for the District of Puerto Rico (the “Court”) has

  subject matter jurisdiction over this matter pursuant to PROMESA section 306(a).

         5.      Venue is proper pursuant to PROMESA section 307(a).

         6.      Jenner makes this Application pursuant to PROMESA sections 316 and 317,

  Bankruptcy Code sections 105(a) and 503(b), Bankruptcy Rule 2016, Local Rule 2016-1, the

  Retention Order, the Interim Compensation Order, and the UST Guidelines.

                                              Background

         7.      On May 3, 2017, Puerto Rico, by and through the Financial Oversight and

  Management Board for Puerto Rico (“FOMB”), as Puerto Rico’s representative pursuant to

  section 315(b) of PROMESA, filed a petition with the Court under title III of PROMESA.




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            8.      On May 5, 2017, the Puerto Rico Sales Tax Financing Corporation (“COFINA”),

  by and through the FOMB, as COFINA’s representative pursuant to PROMESA section 315(b),

  filed a petition with the Court under title III of PROMESA.

            9.      On May 21, 2017, the Puerto Rico Highways and Transportation Authority

  (“HTA”), by and through the FOMB, as HTA’s representative pursuant to PROMESA section

  315(b), filed a petition with the Court under title III of PROMESA.

            10.     On May 21, 2017, the ERS, by and through the FOMB, as the ERS’s representative

  pursuant to PROMESA section 315(b), filed a petition with the Court under title III of PROMESA.

            11.     On July 3, 2017, the Puerto Rico Electric Power Authority (“PREPA”), by and

  through the FOMB, as PREPA’s representative pursuant to PROMESA section 315(b), filed a

  petition with the Court under title III of PROMESA.

            12.     On September 27, 2019, the Puerto Rico Buildings Authority (“PBA”), by and

  through the FOMB, as PBA’s representative pursuant to PROMESA section 315(b), filed a petition

  with the Court under title III of PROMESA.

            13.     Through Orders of this Court, the Commonwealth, COFINA, HTA, ERS, PREPA,

  and PBA title III cases (collectively, the “Title III Cases”) are jointly administered for procedural

  purposes only, pursuant to PROMESA section 304(g) and Bankruptcy Rule 1015. [See Dkt. Nos.

  242, 537, 1417, 8829.]

            14.     On June 15, 2017, the U.S. Trustee, pursuant to section 1102(a)(1) of the

  Bankruptcy Code, appointed the Retiree Committee, consisting of the following nine individuals:

  Blanca Paniagua, Carmen Nuñez, Juan Ortiz, Lydia Pellot, Marcos A. Lopez, (retired) Judge
                                                                             6
  Miguel Fabre, Milagros Acevedo, Rosario Pacheco, and José Marin. [Dkt. No. 340.]


  6
      José Marin resigned from the Retiree Committee effective April 12, 2018.


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                                 Jenner’s Retention and Fee Request

         15.     On June 16, 2017, the Retiree Committee elected to employ Jenner to represent the

  Retiree Committee.

         16.     On July 19, 2017, the Retiree Committee filed its Application for an Order

  Approving the Employment of Jenner & Block LLP [Dkt. No. 670] (the “Retention Application”)
                                                                   7
  pursuant to sections 105(a) and 1103 of the Bankruptcy Code.

         17.     On August 10, 2017, the Court entered the Retention Order approving Jenner’s

  retention as counsel to the Retiree Committee, effective June 16, 2017, on the terms and conditions

  identified in the Retention Application. A copy of the Retention Order is attached hereto as Exhibit

  C. Pursuant to the Retention Order, Jenner is entitled to compensation for reasonable, actual, and

  necessary professional services rendered and reimbursement of expenses incurred in connection

  with the Title III Cases.

         18.     On October 6, 2017, the Court entered an Order appointing Brady Williamson as

  the fee examiner (the “Fee Examiner”) in these Title III Cases. [Dkt. No. 1416.]

         19.     On June 20, 2018, the Court entered the Amended Fee Examiner Order.

         20.     On December 15, 2017, Jenner filed its First Interim Application for Allowance of

  Compensation for Services Rendered and Reimbursement of Expenses Incurred From June 16,

  2017 Through September 30, 2017 (the “First Interim Application”) [Dkt. No. 2050], seeking

  $2,051,975.37 in compensation and $60,916.21 in expenses. On March 7, 2018, the Court entered

  an Order approving the First Interim Application (the “First Interim Order”) [Dkt. No. 2685] in


  7
   In a chapter 11 case, a committee appointed under section 1102 of the Bankruptcy Code ordinarily would
  seek authority to employ counsel pursuant to section 327. Because PROMESA does not incorporate section
  327 of the Bankruptcy Code, the Retiree Committee moved for approval of its Retention Application
  pursuant to sections 105(a) and 1103(a). See PROMESA § 301(a) (omitting Bankruptcy Code sections 327
  and 328 from incorporation into PROMESA).


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  the amount of $2,030,996.12 in compensation and $60,485.71 in expenses, reflecting certain

  reductions recommended by the Fee Examiner and agreed to by Jenner. Jenner has received 100%

  payment of the fees and expenses approved in the First Interim Order.

         21.    On March 19, 2018, Jenner filed its Second Interim Application for Allowance of

  Compensation for Services Rendered and Reimbursement of Expenses Incurred From October 1,

  2017 Through January 1, 2018 (the “Second Interim Application”) [Dkt. No. 2741], seeking

  $2,054,446.59 in compensation and $100,461.26 in expenses. On June 8, 2018, the Court entered

  an Order approving the Second Interim Application (the “Second Interim Order”) [Dkt. No.

  3279] in the amount of $2,004,389.11 in compensation and $97,413.89 in expenses, reflecting

  certain reductions recommended by the Fee Examiner and agreed to by Jenner. Jenner has received

  100% payment of the fees and expenses approved in the Second Interim Order.

         22.    On July 16, 2018, Jenner filed its Third Interim Application for Allowance of

  Compensation for Services Rendered and Reimbursement of Expenses Incurred From February 1,

  2018 through May 31, 2018 (the “Third Interim Application”) [Dkt. No. 3535], seeking

  $1,969,909.52 in compensation and $71,940.52 in expenses. On November 9, 2018, the Court

  entered an Order approving the Third Interim Application (the “Third Interim Order”) [Dkt. No.

  4200] in the amount of $1,939,594.08 in compensation and $69,416.41 in expenses, reflecting

  $30,315.44 in fee reductions and $2,524.11 in expense reductions recommended by the Fee

  Examiner and agreed to by Jenner. Jenner has received 100% payment of the fees and expenses

  approved in the Third Interim Order.

         23.    On November 16, 2018, Jenner filed its Fourth Interim Application for Allowance

  of Compensation for Services Rendered and Reimbursement of Expenses Incurred From June 1,

  2018 through September 30, 2018 (the “Fourth Interim Application”) [Dkt. No. 4267], seeking



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  $1,817,932.76 in compensation and $108,986.92 in expenses, including $16,302.15 in

  compensation inadvertently omitted from the Third Interim Application. On March 14, 2019, the

  Court entered an Order approving the Fourth Interim Application (the “Fourth Interim Order”)

  [Dkt. No. 5654] in the amount of $1,787,635.21 in compensation and $104,007.53 in expenses,

  reflecting $30,297.55 in fee reductions and $4,979.39 in expense reductions recommended by the

  Fee Examiner and agreed to by Jenner. Jenner has received 100% payment of the fees and expenses

  approved in the Fourth Interim Order.

         24.    On March 16, 2019, Jenner filed its Fifth Interim Application for Allowance of

  Compensation for Services Rendered and Reimbursement of Expenses Incurred From October 1,

  2018 through January 31, 2019 (the “Fifth Interim Application”) [Dkt. No. 5781, as corrected

  by Dkt. No. 5891], seeking $1,600,680.36 in compensation and $70,178.13 in expenses. On June

  26, 2019, the Court entered an Order approving the Fifth Interim Application (the “Fifth Interim

  Order”) [Dkt. No. 7670] in the amount of $1,573,774.60 in compensation and $66,973.19 in

  expenses, reflecting $26,905.76 in fee reductions and $3,204.94 in expense reductions

  recommended by the Fee Examiner and agreed to by Jenner. Jenner has received 100% payment

  of the fees and expenses approved in the Fifth Interim Order.

         25.    On July 15, 2019, Jenner filed its Sixth Interim Application for Allowance of

  Compensation for Services Rendered and Reimbursement of Expenses Incurred From February 1,

  2019 through May 31, 2019 (the “Sixth Interim Application”) [Dkt. No. 7967], seeking

  $1,971,702.85 in compensation and $83,881.88 in expenses. On December 6, 2019, the Court

  entered an Order approving the Sixth Interim Application (the “Sixth Interim Order”) [Dkt. No.

  9488] in the amount of $1,941,702.85 in compensation and $76,830.83 in expenses, reflecting

  $30,000.00 in fee reductions and $7,051.05 in expense reductions recommended by the Fee



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  Examiner and agreed to by Jenner. Jenner has received 100% payment of the fees and expenses

  approved in the Sixth Interim Order.

         26.     On November 15, 2019, Jenner filed its Seventh Interim Application for Allowance

  of Compensation for Services Rendered and Reimbursement of Expenses Incurred From June 1,

  2019 through September 30, 2019 (the “Seventh Interim Application”) [Dkt. No. 9207], seeking

  $1,994,019.44 in compensation and $111,143.17 in expenses. On May 18, 2020, the Court entered

  an Order approving the Seventh Interim Application (the “Seventh Interim Order”) [Dkt. No.

  13150] in the amount of $1,961,656.51 in compensation and $108,302.29 in expenses, reflecting

  $32,362.93 in fee reductions and $2,840.88 in expense reductions recommended by the Fee

  Examiner and agreed to by Jenner. Jenner has received 100% payment of the fees and expenses

  approved in the Seventh Interim Order.

         27.     On March 16, 2020 Jenner filed its Eighth Interim Application for Allowance of

  Compensation for Services Rendered and Reimbursement of Expenses Incurred From October 1,

  2019 through January 31, 2020 (the “Eighth Interim Application”) [Dkt. No. 12406], seeking

  $1,868,971.73 in compensation and $105,122.89 in expenses. A hearing on the Eighth Interim

  Application is scheduled for July 29, 2020. Pursuant to monthly fee statements, Jenner has received

  payment of $928,320.11 in fees and $65,596.00 in expenses that are also included in the Eighth

  Interim Application.

         28.     Jenner’s fees are based upon hours charged, recorded in tenth-of-an-hour

  increments, at Jenner’s ordinary and customary hourly rates in effect as of January 1 of the calendar

  year in which the services are rendered, plus reimbursement of actual, necessary, out-of-pocket

  expenses and other charges incurred by Jenner on behalf of the Retiree Committee. Jenner adjusts

  its rates annually at the start of each calendar year, as disclosed in its Retention Application and



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  approved by the Retention Order. The rates set forth herein include Jenner’s 2020 rates. These

  rates are consistent with the rates charged to other clients, including outside of bankruptcy. Jenner

  has shared its 2020 rates with the Retiree Committee, and the Retiree Committee has approved

  these rates. For this matter, Jenner agreed to discount its fee rates, but not out-of-pocket expenses

  and internal charges, by 15% from its rates in effect at the time the services are rendered.

         29.     The cover sheet to this Application contains a schedule setting forth all Jenner

  professionals and paraprofessionals who have performed services on behalf of the Retiree

  Committee during the Interim Period, the capacity in which each individual is employed by Jenner,

  the hourly billing rate charged for services performed by each such individual, the aggregate

  number of hours expended by all such professionals and paraprofessionals, the aggregate fees

  billed, and, for attorneys, the year in which each professional was first licensed to practice law.

         30.     By this Application, Jenner seeks allowance of (a) compensation of $1,868,971.73

  for professional and paraprofessional services provided during the Interim Period; and

  (b) reimbursement of actual, reasonable, and necessary expenses incurred in the Interim Period in

  the amount of $105,122.89. As of the date of this Application, Jenner has received $928,320.11 in

  compensation for services performed and $65,596.00 in reimbursement for expenses incurred

  during the Interim Period.

         31.     This is Jenner’s ninth request for interim compensation in this Title III Case. As set

  forth in the Gordon Certification, all of the services for which interim compensation is sought

  herein were rendered for and on behalf of the Retiree Committee in connection with this Title III

  Case. To the best of Jenner’s knowledge and as disclosed in the Declaration of Robert D. Gordon

  in Support of Application of the Official Committee of Retired Employees of the Commonwealth

  of Puerto Rico for Order Approving the Employment of Jenner and Block LLP [Dkt. No. 670-2],



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  the First Supplemental Declaration of Robert Gordon in Support of Application for Order

  Approving the Employment of Jenner & Block LLP [Dkt. No. 1766], the Second Supplemental

  Declaration of Robert Gordon in Support of Application for Order Approving the Employment of

  Jenner & Block LLP [Dkt. No. 3612], the Verified Certification of Robert Gordon in Support of

  the First Interim Application of Jenner & Block LLP for Allowance of Compensation and

  Reimbursement of Expenses [Dkt. No. 2050-1], the Verified Certification of Robert Gordon in

  Support of the Second Interim Application of Jenner & Block LLP for Allowance of Compensation

  and Reimbursement of Expenses [Dkt. No. 2741-1], the Verified Certification of Robert Gordon

  in Support of the Third Interim Application of Jenner & Block LLP for Allowance of Compensation

  and Reimbursement of Expenses [Dkt. No. 3535-1], the Verified Certification of Robert Gordon

  in Support of the Fourth Interim Application of Jenner & Block LLP for Allowance of

  Compensation and Reimbursement of Expenses [Dkt. No. 4267-1], the Verified Certification of

  Robert Gordon in Support of the Fifth Interim Application of Jenner & Block LLP for Allowance

  of Compensation and Reimbursement of Expenses [Dkt. No. 5781-1], the Verified Certification of

  Robert Gordon in Support of the Sixth Interim Application of Jenner & Block LLP for Allowance

  of Compensation and Reimbursement of Expenses [Dkt. No. 7967-1], the Verified Certification of

  Robert Gordon in Support of the Seventh Interim Application of Jenner & Block LLP for Allowance

  of Compensation and Reimbursement of Expenses [Dkt. No. 9207-1], the Verified Certification of

  Robert Gordon in Support of the Eighth Interim Application of Jenner & Block LLP for Allowance

  of Compensation and Reimbursement of Expenses [Dkt. No. 12406-1], and the Gordon

  Certification attached as Exhibit A to this Application (together, the “Gordon Declarations”),

  Jenner is a “disinterested person” as defined in section 101(14) of the Bankruptcy Code, and except




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  as otherwise specified in the Gordon Declarations, Jenner’s partners, associates, and special

  attorneys do not hold or represent any interest adverse to the Retiree Committee.

          32.     Jenner might have in the past represented, might currently represent, and likely in

  the future will represent parties that are parties in interest in these cases in connection with matters

  unrelated to the Retiree Committee or the Title III Cases. In the Gordon Declarations, Jenner

  disclosed its connections to parties in interest in the Title III Cases that it has been able to ascertain

  using reasonable efforts. Jenner will update such disclosures, as appropriate, if Jenner becomes

  aware of relevant and material new information.

          33.     Jenner performed the services for which it is seeking compensation solely on behalf

  of the Retiree Committee and not on behalf of any other committee, creditor, or other entity.

          34.     Jenner has not received payment or a promise of payment from any source other

  than the Commonwealth for its services rendered and expenses incurred on behalf of the Retiree

  Committee or to be rendered or incurred in any capacity whatsoever in connection with the Title

  III Cases.

          35.     Jenner does not share fees with any attorneys except to the extent permitted by

  section 504 of the Bankruptcy Code.

                         Fees and Expenses Incurred During Interim Period

  A.      Customary Billing Disclosures

          36.     Jenner’s hourly rates are set at a level designed to compensate Jenner fairly for the

  work of its attorneys and paraprofessionals and to cover fixed and routine expenses. The hourly

  rates and corresponding rate structure utilized by Jenner in this Title III Case are equivalent to the

  hourly rates and corresponding rate structure used by Jenner for similar complex corporate,

  securities, litigation, and restructuring matters, whether in court or otherwise, regardless of

  whether a fee application is required. The rates and rate structure reflect that such complex matters

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  typically are national in scope and typically involve great complexity, high stakes, and intense

  time pressures.

         37.        Exhibit D to this Application is a summary of blended hourly rates for (i) Jenner

  professionals (excluding Restructuring and Bankruptcy attorneys) and (ii) blended hourly rates for

  timekeepers for which Jenner is seeking hourly compensation in this Application, as required by

  the UST Guidelines.

  B.     Fees Incurred During Interim Period

         38.        In the ordinary course of Jenner’s practice, Jenner maintains records of the time

  spent on the professional services provided to the Retiree Committee. Exhibit E to this

  Application is a summary of fees incurred and hours worked during the Interim Period for which

  compensation is sought on an hourly basis in this Application, setting forth the following

  information:

              the name of each attorney and paraprofessional for whose work compensation is
               sought;
              each attorney’s year of bar admission and area of practice concentration;
              the aggregate time worked and fees billed by each attorney and each paraprofessional
               during the Interim Period;
              the hourly billing rates for each such attorney and paraprofessional at Jenner’s
               applicable billing rates; and
              a calculation of total compensation requested using the rates disclosed in the Jenner
               Application.
  C.     Expenses Incurred During Interim Period

         39.        In the ordinary course of Jenner’s practice, Jenner maintains a record of expenses

  incurred in rendering professional services to the Retiree Committee and for which reimbursement

  is sought. Exhibit F to this Application is a summary of the total amount of expenses for which

  Jenner seeks reimbursement with respect to each category of expenses for the Interim Period. The

  out-of-pocket disbursement sum is broken down into categories of charges.


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                Summary of Legal Services Provided During the Interim Period

         40.     During the Interim Period, Jenner provided important professional services to the

  Retiree Committee in connection with this Title III Case. A summary of the various services Jenner

  provided to the Retiree Committee during the Interim Period is set forth in paragraphs 43 through

  60 below.

         41.     Jenner has established, in accordance with its internal billing procedures, subject

  matter categories (each, a “Matter Category”) for keeping time records of the work performed

  for the Retiree Committee. A schedule setting forth a description of each Matter Category utilized

  in this case, the number of hours worked by Jenner attorneys and paraprofessionals for each Matter

  Category, and the aggregate fees associated with each Matter Category is attached as Exhibit G.

  In addition, subject to redaction for attorney-client privilege, work product, and confidentiality

  where necessary to protect the Retiree Committee, Jenner’s records of time worked providing

  professional services to the Retiree Committee are attached hereto as Exhibit H, and Jenner’s

  records of expenses incurred in the rendition of professional services to the Retiree Committee

  during the Interim Period are attached as Exhibit I.

         42.     The following is a non-exhaustive summary, by Matter Category, of the

  professional services provided by Jenner during the Interim Period. This summary is organized in

  accordance with Jenner’s internal system of matter numbers.

         Adversary Proceeding – ERS v. Altair Global Credit Opportunities Fund
         Total Hours: 8.60        Fees: $8,354.00
         43.     Jenner’s recorded time entries in this category include, among other things,

  participating in and preparing for depositions and other discovery in the ERS v. Altair Global

  Credit Opportunities Fund adversary proceeding (Adv. Proc. No. 17-213). Jenner coordinated with

  the FOMB to maximize efficiency and minimize duplication of effort.



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         Adversary Proceeding – Assured Guaranty Corp. v. Commonwealth and Ambac v.
         Commonwealth
         Total Hours: 0.30         Fees: $199.50
         44.      Jenner’s recorded time entries in this category reflect reviewing and analyzing

  pleadings and court decisions in the Assured v. Commonwealth and Ambac v. Commonwealth

  adversary proceedings (Adv. Proc. Nos. 17-155, 17-156, 17-159) relevant to Retiree Committee

  constituents.

         Case Administration/Miscellaneous
         Total Hours: 234.10       Fees: $174,198.50
         45.      Jenner’s recorded time entries in this category include, among other things:

  (a) meeting internally on strategy, allocation of assignments, and other matters; (b) reviewing legal

  and political developments relevant to the status of the Title III Case; (c) communicating with the

  FOMB, AAFAF, the Official Committee of Unsecured Creditors, and other parties-in-interest in

  the Title III Cases regarding general matters; (d) reviewing pleadings and court submissions not

  attributable to another Matter Category; (e) case and project management; and (f) miscellaneous

  work not attributable to another Matter Category. Jenner conducts periodic calls among Jenner

  professionals and a weekly call among Jenner and the Retiree Committee’s other retained

  professionals to discuss the case status, delegate work, and collaborate on strategy. These calls are

  designed to promote efficiency, coordinate the work plan, and eliminate duplication of effort

  among the Retiree Committee’s retained professionals.

         Challenges to PROMESA
         Total Hours: 28.40    Fees: $31,098.50
         46.      Jenner’s recorded time entries in this category include, among other things:

  (a) reviewing and analyzing pleadings in the Ambac Assurance Co. v. FOMB adversary proceeding

  (Adv. Proc. No. 20-00068); and (b) reviewing and analyzing pleadings and other submissions

  challenging the constitutionality and implementation of PROMESA.



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         Claims Issues
         Total Hours: 6.20              Fees: $6,311.50
         47.     Jenner’s recorded time entries in this category include, among other things:

  (a) reviewing claims forms sent to Retirees; (b) reviewing claims registers and claims objections;

  and (c) reviewing court filings in adversary proceedings regarding claims.

         Committee Governance and Meetings
         Total Hours: 63.60      Fees: $72,465.50
         48.     Jenner’s recorded time entries in this category include, among other things:

  (a) counseling and assisting the Retiree Committee in the proper performance of its duties;

  (b) preparing for, conducting, and participating in all meetings of the Retiree Committee;

  (c) assisting the Retiree Committee in preparing agendas and minutes for those meetings;

  (d) drafting written summaries of developments in the Title III Cases and the Retiree Committee

  professionals’ work; and (e) rendering other services related to Committee governance. For each

  Committee meeting, each Jenner and Bennazar attorney attending the meeting was responsible for

  presenting to and advising the Retiree Committee regarding various agenda items according to

  their varying knowledge and expertise. Some of the Committee meetings were conducted by

  Jenner in-person and some were conducted telephonically, as determined in consultation with the

  Committee Chairperson.

         Communications with Retirees
         Total Hours: 16.30       Fees: $18,926.00
         49.     Jenner’s recorded time entries in this category include, among other things:

  (a) working with the Retiree Committee’s Information Agent and other professionals to develop

  and review content for the Retiree Committee website; (b) developing and disseminating answers

  to frequently asked questions as well as other materials to provide information about the Title III

  Cases to Retirees through the Retiree Committee website, social media, and other digital

  properties; (c) monitoring press coverage regarding issues in the Title III Cases affecting Retirees


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  and developing responses to and other information for the media regarding Retiree Committee

  issues; and (d) conferring with the Retiree Committee professionals and members to develop

  public communications strategies.

         Court Hearings
         Total Hours: 22.90             Fees: $24,902.50
         50.     Jenner’s recorded time entries in this category include (a) attending and

  representing the Retiree Committee at Court hearings; (b) preparing for Court hearings, including

  reviewing pleadings and other submissions considered at or relevant to Court hearings; and

  (c) drafting informative motions relating to Court hearings.

         Economic and Disaster Recovery Analysis
         Total Hours: 1.40         Fees: $1,715.00
         51.     Jenner’s recorded time entries in this category include, among other things,

  reviewing and analyzing reports regarding economic and disaster recovery efforts as they

  ultimately pertain to the development of fiscal plans and a plan of adjustment.

         Employment of Professionals/Fee Applications (Jenner Professionals)
         Total Hours: 48.90        Fees: $39,890.50
         52.     Jenner’s recorded time entries in this category include, among other things:

  (a) preparing Jenner’s Eighth Interim Application and monthly fee statements and, specifically,

  ensuring compliance with UST Guidelines and those of the Fee Examiner; (b) reviewing Jenner’s

  invoices to protect confidentiality and privilege; and (c) communicating with the U.S. Trustee’s

  office and the Fee Examiner and his team.

         ERS Bond Issues
         Total Hours: 1,596.50                  Fees: $1,218,443.50
         53.     Jenner’s recorded time entries in this category include, among other things:

  (a) drafting and filing a motion to dismiss ERS Bondholder claims; (b) reviewing and analyzing

  ERS Bondholders’ responses to claims objections; (c) participating in and briefing the appeal of

  the ERS Bondholders’ section 926(a) motion in the First Circuit; (d) preparing for and participating

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  in argument of same; (e) reviewing the First Circuit opinion regarding same; (f) conferring with

  counsel for other parties regarding procedures to govern ERS claim objections, discovery,

  logistics, and general coordination of efforts; (g) drafting and filing discovery briefing;

  (h) reviewing document productions; (i) preparing substantive objections and briefing on the

  claims issues; (j) preparing for and attending depositions; (k) reviewing and analyzing other

  pleadings and court filings relevant to ERS Bondholder claims; and (l) conducting legal research

  relating to the foregoing.

         Employment of Professionals/Fee Applications (Non-Jenner Professionals)
         Total Hours: 56.10        Fees: $39,876.50
         54.     Jenner’s recorded time entries in this category include (a) assisting the Retiree

  Committee’s financial advisors, actuaries, Information Agent, and Retiree Committee members

  with their eighth interim compensation and expense applications and preparing their monthly

  statements; and (b) communicating with the Fee Examiner and his team concerning appropriate

  compensation procedures for the Retiree Committee’s financial advisors, actuaries, Information

  Agent, and members.

         Fiscal Plan/Plan of Adjustment
         Total Hours: 443.40        Fees: $486,203.00
         55.     Jenner’s recorded time entries in this category include, among other things:

  (a) reviewing and analyzing the UCC’s motion to reclassify Class 39A and 41 claims and joinders

  thereto; (b) conducting legal research relating to the UCC reclassification motion; (c) drafting an

  objection to the UCC reclassification motion and related pleadings; (d) preparing for and

  presenting argument on the UCC reclassification motion; (e) reviewing and analyzing the February

  28, 2020 AAFAF Fiscal Plan, the May 3, 2020 AAFAF Fiscal Plan, and the May 27, 2020 FOMB

  Certified Fiscal Plan and related documents in the Title III Cases as applicable during the Interim

  Period; (f) reviewing and analyzing the Amended Plan of Adjustment and Disclosure Statement


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  filed on February 28, 2020; (g) reviewing and analyzing court submissions and statements

  concerning the effect of the COVID-19 pandemic on the timing and substance of consideration of

  the Disclosure Statement and Plan of Adjustment; (h) analyzing issues and strategy regarding Plan

  of Adjustment confirmation; (i) communicating with the Retiree Committee and the Retiree

  Committee’s advisors and actuaries regarding the Plan of Adjustment, Disclosure Statement,

  Fiscal Plans, and related documents; and (j) conducting legal and factual research and analysis

  concerning potential Plan of Adjustment issues relevant to the Retiree Committee’s constituents.

         GO Bonds Issues
         Total Hours: 13.20             Fees: $12,053.00
         56.     Jenner’s recorded time entries in this category include (a) reviewing and analyzing

  general obligation bond documents; (b) reviewing and analyzing general obligation bondholder

  claims and court submissions; (c) conducting related legal research; (d) reviewing and responding

  to objections to claims; and (e) reviewing and analyzing bondholders’ public disclosures.

         Mediation
         Total Hours: 9.20              Fees: $9,595.00
         57.     Jenner’s recorded time entries in this category include time spent representing the

  Retiree Committee in all aspects of the confidential mediation process. Due to the confidential

  nature of the mediation, the time entries have been redacted. Jenner provided unredacted copies of

  its time to the Fee Examiner subject to the confidentiality protections set forth in paragraph 10 of

  the Amended Fee Examiner Order.

         Pension Analysis
         Total Hours: 0.20              Fees: $245.00
         58.     Jenner’s recorded time entries in this category reflect communicating with the

  Retiree Committee’s actuaries regarding pension liabilities.




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         PREPA
         Total Hours: 0.80               Fees: $980.00
         59.     Jenner’s recorded time entries in this category include reviewing and analyzing

  pleadings and other submissions regarding PREPA and its retirees that may have implications for

  Retiree Committee constituents.

         Non-Working Travel Time
         Total Hours: 88.40      Fees: $45,333.00 (after 50% discount)
         60.     This time entry reflects non-working out-of-town travel for court appearances,

  depositions, and Retiree Committee meetings. Pursuant to Local Rule 2016-1(a), Jenner is seeking

  compensation at one-half of its normal rate for time spent traveling in connection with its

  representation of the Retiree Committee.

         Actual and Necessary Expenses Incurred by Jenner During the Interim Period

         61.     As summarized in Exhibit F and as set forth in detail in Exhibit I, Jenner has

  incurred a total of $105,122.89 in expenses on behalf of the Retiree Committee during the Interim

  Period. The expenses identified in Exhibit F are intended to reimburse Jenner’s direct costs that

  are not included in Jenner’s hourly billing rates. Only clients who actually use services of the types

  set forth in Exhibit F of this Fee Application are charged for such services.

           Jenner’s Requested Compensation and Reimbursement Should be Allowed

         62.     The services for which Jenner seeks compensation in this Application were, at the

  time provided, necessary for and beneficial to the Retiree Committee. Jenner performed these

  services economically, effectively, and efficiently. Jenner submits that the compensation requested

  is reasonable in light of the nature, extent, and value of such services to the Retiree Committee.

  Accordingly, Jenner submits that the compensation sought in this Application is warranted and

  should be approved.




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  A.     Compensation Under Sections 316 and 317 of PROMESA.

         63.     Section 317 of PROMESA authorizes interim compensation of professionals and

  incorporates the substantive standards of section 316 of PROMESA to govern the Court’s award

  of interim compensation. Section 316 of PROMESA provides that a court may award a

  professional employed under section 1103 of the Bankruptcy Code “reasonable compensation for

  actual, necessary services rendered,” and “reimbursement for actual, necessary expenses.” 48

  U.S.C. § 2176(a)(1), (2). Section 316(c) sets forth the criteria for such an award:

                 In determining the amount of reasonable compensation to be
                 awarded to a professional person, the court shall consider the nature,
                 the extent, and the value of such services, taking into account all
                 relevant factors, including—

                         (1)    the time spent on such services;

                         (2)    the rates charged for such services;

                         (3)     whether the services were necessary to the
                         administration of, or beneficial at the time at which the
                         service was rendered toward the completion of, a case under
                         this chapter;

                         (4)    whether the services were performed within a
                         reasonable amount of time commensurate with the
                         complexity, importance, and nature of the problem, issue, or
                         task addressed;

                         (5)    with respect to a professional person, whether the
                         person is board certified or otherwise has demonstrated skill
                         and experience in the restructuring field; and

                         (6)     whether the compensation is reasonable based on the
                         customary compensation charged by comparably skilled
                         practitioners in cases other than cases under this subchapter
                         or Title 11.

  48 U.S.C. § 2176(c).

         64.     As analyzed below, Jenner submits the elements governing awards of

  compensation under PROMESA justify the allowance requested.


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         1.      The Time and Labor Required

         65.     During the Interim Period, Jenner’s partners, associates, and paraprofessionals

  spent 2,638.60 hours providing professional services to the Retiree Committee for which Jenner

  seeks compensation on an hourly basis. Jenner coordinated its efforts with co-counsel to avoid

  duplication of efforts. Jenner required this amount of time to conduct its investigations, research

  and analyze numerous complex, novel issues arising from the Title III Cases, advise the Retiree

  Committee with respect to these issues, participate in seeking resolution of these issues, and

  perform the other tasks described herein.

         2.      The Rates Charged for Such Services

         66.     During the Interim Period, Jenner’s hourly billing rates ranged from $865.00 to

  $1,300.00 per hour for partners, from $570.00 to $880.00 for associates, $585.00 for special

  counsel, $485.00 for staff attorneys, from $225.00 to $400.00 for paraprofessionals. Based on the

  recorded hours expended by Jenner’s attorneys and paraprofessionals, the average hourly billing

  rate was $986.49 for Jenner attorneys and $847.47 for all Jenner timekeepers prior to application

  of the 15% fee-rate discount provided by Jenner to the Retiree Committee, and $838.51 for Jenner

  attorneys and $720.35 for all Jenner timekeepers after accounting for this discount.

         67.     Jenner’s hourly rates are set at a level designed to compensate Jenner fairly for the

  work of its attorneys and paraprofessionals and to cover certain fixed and routine overhead

  expenses. Hourly rates vary with the experience and seniority of the individuals assigned. These

  hourly rates are subject to periodic adjustments to reflect economic and other conditions and are

  consistent with the rates charged by Jenner and the marketplace for services requiring a similar

  level of sophistication and investment of resources.

         68.     The hourly rates and corresponding rate structure that Jenner charges in these cases

  are equivalent to or less than the hourly rates and corresponding rate structure that Jenner charges

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  for similar complex corporate, securities, litigation, and restructuring matters, whether in court or

  otherwise, regardless of whether a fee application is required.

         3.      The Necessity of the Services and the Benefit to the Estate’s Retirees

         69.     As described herein, the services rendered by Jenner were necessary for the

  effective and efficient representation of the Retiree Committee’s interests in this Title III Case. All

  of those services benefitted the Retiree Committee and the Retirees.

         70.     The Retiree Committee has reviewed this Application and has approved the

  compensation and reimbursement of expenses requested herein.

         4.      The Reasonableness of the Time Spent, Based on the Complexity,
                 Importance, and Nature of the Issues

         71.     Jenner’s work involved the representation of the Commonwealth’s largest creditor

  constituency—Puerto Rico’s 167,000 retired teachers, police officers, firefighters, judges,

  municipal clerks, engineers, and other government workers of all categories, whose pensions,

  along with those held by currently active employees who have participated in the ERS, TRS, and/or

  JRS, are collectively underfunded by at least $50 billion. Jenner’s professional services during the

  Interim Period were necessary to ensure that the interests of the Retirees were properly represented

  and safeguarded and that all matters relevant to the Retiree Committee were handled in an

  appropriate manner. Failure of the FOMB and the Commonwealth to properly consider and protect

  Retiree interests in this Title III Case will undoubtedly cause the failure of any attempt to

  successfully reorganize and rehabilitate Puerto Rico and its economy. Moreover, this Title III Case

  presents complex and vital issues of first impression. In light of the foregoing, Jenner submits that

  the compensation requested is reasonable.




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         5.      The Experience, Reputation, and Ability of the Attorneys Providing Services

         72.     As set forth in the Retention Application, the Retiree Committee selected Jenner as

  its counsel because its attorneys have extensive experience, knowledge, and resources in the areas

  of complex restructuring and bankruptcy, municipal finance, employee benefits and litigation, and

  Jenner has the ability to commit substantial resources to the representation of the Retiree

  Committee. The attorneys representing the Retiree Committee have particular expertise in the

  areas of municipal bankruptcies and retiree committee representation. Jenner attorneys have

  achieved a high degree of expertise and positive reputations in their respective fields. Jenner’s

  Restructuring and Litigation departments frequently receive recognition for their skill and

  achievements, and Jenner is frequently cited as one of the leading U.S. law firms in these fields.

  In this complex and high-stakes Title III Case, the unique and specialized skills of Jenner’s

  attorneys are critically important.

         6.      Customary Compensation

         73.     The work for which Jenner seeks compensation in this Application is of the type

  and nature for which Jenner customarily would seek compensation at the rates identified in this

  Application, even before applying the 15% discount here. In addition, the compensation Jenner

  seeks in this Application is comparable to the compensation it would have sought for comparable

  work outside of the Title III Cases.

         74.     Jenner submits that the compensation requested is reasonable under all the factors

  considered under sections 316 and 317 of PROMESA and that the factors justify allowing in full

  Jenner’s compensation and reimbursement request.

         75.     In view of the foregoing, Jenner respectfully requests that it be allowed interim

  compensation in the amount of $1,868,971.73 for services rendered during the Interim Period.



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  B.      Reasonable and Necessary Expenses Incurred in Providing Services to the Retiree
          Committee.

          76.     For the Interim Period, Jenner requests reimbursement of $105,122.89 for

  reasonable and necessary costs and expenses incurred on behalf of the Retiree Committee.

          77.     Jenner’s normal billing rates do not take these costs and expenses into

  consideration. Rather, Jenner bills each cost and expense to the applicable client. Because of the

  disparity between different clients’ requirements for expenses such as travel, computer-assisted

  research, teleconference services, postage, courier and messenger services, and photocopying, it is

  difficult to charge costs and expenses fairly and equitably by including them in Jenner’s ordinary

  billing rates. Accordingly, Jenner generally charges each client for such costs and expenses

  separately, in each case, at Jenner’s costs.

          78.     Jenner does not include the amortization of the cost of any investment, equipment,

  or capital outlay in its charges for these services.

          79.     Jenner represents that its rate for duplication for black-and-white copies is $0.11

  per page, and for color copies the rate is $0.25 per page. In accordance with the Fee Examiner’s

  guidance, Jenner is seeking reimbursement for black-and-white copies at the rate of $0.10 per

  page. Jenner does not charge for telecopier transmissions.

          80.     Any services billed by a third-party vendor, with the exception of certain computer-

  assisted research charges, are charged to the Retiree Committee in the amount billed to and paid

  by Jenner. Like many large law firms, Jenner has negotiated a special arrangement with

  computerized research companies under which Jenner pays a flat rate monthly fee for

  computerized research services. Consistent with its general policy of billing out-of-pocket

  expenses only to clients for which the use of such services is required, Jenner separately charges

  each client for computer-assisted research. To account for such charges while passing through


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  Jenner’s cost savings resulting from its special arrangements, Jenner charges those clients for

  which such services are required at a reduced rate that is less than the rate charged by the

  computerized research companies to the general public for such services. These charges are

  intended to cover Jenner’s direct costs for computerized research.

         81.      Pursuant to Local Rule 2016-1(b)(7), Jenner seeks reimbursement for air travel

  limited to the amount spent on coach fare.

         82.      Jenner has made reasonable efforts to minimize its costs and expenses in connection

  with its representation of the Retiree Committee. Each of the costs and expenses Jenner has

  incurred in providing professional services to the Retiree Committee was necessary, reasonable,

  and justified under the circumstances to serve the needs of the Retiree Committee.

                 Statement by Jenner Under Paragraph C(5) of the UST Guidelines

         83.      This engagement involves variations from Jenner’s standard and customary billing

  rates. Jenner has agreed to discount its fee rates, but not out-of-pocket expenses and internal

  charges, by 15% off its rates in effect at the time the services are rendered.

         84.      None of the professionals included in this Application varied their hourly rate based

  on the geographic location of their cases.

         85.      The Application does not include time or fees specifically related to reviewing or

  revising time records or preparing, reviewing, or revising invoices.

         86.      The Application includes approximately six hours of time and approximately

  $5,000 of fees spent on reviewing Jenner time records to redact privileged or other confidential

  information.

         87.      The hourly rates specified in the Retention Application were effective January 1,

  2020. Jenner’s engagement letter with the Retiree Committee provides that Jenner periodically

  adjusts its scheduled hourly rates, generally at the beginning of a calendar year.

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         88.     Consistent with the UST Guidelines and the Fee Examiner Memorandum, Jenner

  began submitting budgets to the Fee Examiner for the period beginning January 2018. Jenner’s

  budgets estimated fees for the Interim Period at $2,180,185.00. Jenner is requesting compensation

  of $1,961,656.51 for the Interim Period—$218,528.49 or approximately 10% less than the amount

  budgeted.

                                 Reservation of Rights and Notice

         89.     It is possible that some professional time expended or expenses incurred during the

  Interim Period are not reflected in the Application. Jenner reserves the right to include such

  amounts in future fee applications.

         90.     Pursuant to the Interim Compensation Order, the Retiree Committee has provided

  notice of this Application to: (a) the U.S. Trustee; (b) counsel to the FOMB; (c) counsel to

  AAFAF; (d) counsel to the Official Committee of Unsecured Creditors; (e) the Fee Examiner; and

  (f) all parties that have filed a notice of appearance with the Clerk of this Court, pursuant to

  Bankruptcy Rule 2002 and applicable provisions of the Local Rules, and requested such notice.

                                         No Prior Request

         91.     No prior application for the relief requested by this Application has been made to

  this or any other court.




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         WHEREFORE, Jenner respectfully requests that the Court enter an order awarding Jenner:

  (a) compensation of $1,868,971.73 for professional and paraprofessional services provided during

  the Interim Period; (b) reimbursement of actual, reasonable, and necessary expenses incurred in

  the Interim Period in the amount of $105,122.89; and (c) such other relief as is appropriate under

  the circumstances.


   Dated: July 15, 2020                             Respectfully submitted,

                                                    JENNER & BLOCK LLP

                                                    /s/ Robert Gordon
                                                    Robert Gordon (admitted pro hac vice)
                                                    Richard Levin (admitted pro hac vice)
                                                    919 Third Ave
                                                    New York, NY 10022-3908
                                                    rgordon@jenner.com
                                                    rlevin@jenner.com
                                                    212-891-1600 (telephone)
                                                    212-891-1699 (facsimile)

                                                    Catherine Steege (admitted pro hac vice)
                                                    Melissa Root (admitted pro hac vice)
                                                    353 N. Clark Street
                                                    Chicago, IL 60654
                                                    csteege@jenner.com
                                                    mroot@jenner.com
                                                    312-222-9350 (telephone)
                                                    312-239-5199 (facsimile)

                                                    Counsel for The Official Committee of Retired
                                                    Employees of Puerto Rico




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